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11
                                  UNITED STATES DISTRICT COURT
12
                                NORTHERN DISTRICT OF CALIFORNIA
13
                                       OAKLAND DIVISION
14
   THE APPLE IPOD ITUNES ANTITRUST              )   Lead Case No. C-05-00037-YGR
15 LITIGATION                                   )
                                                )   CLASS ACTION
16                                              )
      This Document Relates To:                 )   DECLARATION OF CARMEN A. MEDICI
17                                              )   IN SUPPORT OF PLAINTIFFS’
                 ALL ACTIONS.                   )   ADMINISTRATIVE MOTION TO SEAL
18                                              )   PORTIONS OF A DOCUMENT RELATING
                                                    TO PLAINTIFFS’ OPPOSITION TO
19                                                  DEFENDANT APPLE’S MOTIONS IN
                                                    LIMINE NOS. 1-3 AND TO EXCLUDE AND
20                                                  STRIKE EVIDENCE

21                                                  Date:         October 29, 2014
                                                    Time:         9:30 a.m.
22                                                  Courtroom:    1, 4th Floor
                                                    Judge:        Hon. Yvonne Gonzalez Rogers
23
                                                    Trial Date:   November 17, 2014
24                                                  Time:         8:30 a.m.
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           1          I, CARMEN A. MEDICI, declare:

           2          1.     I am an attorney duly licensed to practice before all of the courts of the State of

           3 California. I am associated with the law firm of Robbins Geller Rudman & Dowd LLP, Class

           4 Counsel for the Class and for Plaintiffs Melanie Wilson (formerly Tucker) and Mariana Rosen

           5 (collectively, “Plaintiffs”) in this action. I have personal knowledge of the matters stated herein,

           6 and, if called upon, I could and would completely testify thereto.

           7          2.     I submit this declaration in support of Plaintiffs’ Administrative Motion to Seal

           8 Portions of a Document Relating to Plaintiffs’ Opposition to Defendant Apple’s Motions in Limine

           9 Nos. 1-3 and to Exclude and Strike Evidence.

       10             3.     This request to file under seal is subsequent to a meet and confer with Apple about

       11 the propriety of filing the document in the public record.

       12             4.     In that meet and confer, Apple represented to Plaintiffs that part of the technology

       13 referred to in Dr. Kelly’s Declarations are currently in use and could reveal sensitive business

       14 information about Apple if filed publicly.

       15             5.     Plaintiffs and Apple met and conferred about redacting portions of the documents so

       16 as much of the document could be publicly filed while satisfying Apple’s confidentiality concerns.

       17 These redacted documents are being publicly filed in conjunction with this motion as well as

       18 Plaintiffs’ Opposition to Apple’s Motion in Limine Nos. 1-3 and to Exclude and Strike Evidence.

       19             I declare under penalty of perjury under the laws of the United States of America that the

       20 foregoing is true and correct. Executed this 14th day of October, 2014, at San Diego, California.

       21

       22                                                                 CARMEN A. MEDICI
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976978_1        DEC OF CAM ISO PLTFS’ ADMIN MTS PORTIONS OF A DOC RE PLTFS’ OPPO TO APPLE’S
                MOTIONS IN LIMINE NOS. 1-3 AND TO EXCLUDE AND STRIKE EVIDENCE- C-05-00037-YGR                 -1-
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           1                                    CERTIFICATE OF SERVICE

           2          I hereby certify that on October 14, 2014, I authorized the electronic filing of the foregoing

           3 with the Clerk of the Court using the CM/ECF system which will send notification of such filing to

           4 the e-mail addresses denoted on the attached Electronic Mail Notice List, and I hereby certify that I

           5 caused to be mailed the foregoing document or paper via the United States Postal Service to the non-

           6 CM/ECF participants indicated on the attached Manual Notice List.

           7          I certify under penalty of perjury under the laws of the United States of America that the

           8 foregoing is true and correct. Executed on October 14, 2014.

           9                                                      s/ Bonny E. Sweeney
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       10
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Mailing Information for a Case 4:05-cv-00037-YGR The Apple iPod iTunes
Anti-Trust Litigation
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Manual Notice List

The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who therefore require
manual noticing). You may wish to use your mouse to select and copy this list into your word processing program in order to
create notices or labels for these recipients.
• (No manual recipients)




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